 8:03-cr-00379-JFB-TDT          Doc # 85       Filed: 07/11/05    Page 1 of 6 - Page ID # 230


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:03cr379
                                                     USM Number 18840-047

LETA KINDRED
                       Defendant
                                                     Lawrence G. Whelan
                                                     Defendant’s Attorney
___________________________________

                         AMENDED JUDGMENT IN A CRIMINAL CASE

Date of Original Judgment: 05/11/2004
(Or Date of Last Amended Judgment)

Reason for Amendment:

       Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to count I of the Indictment on February 6, 2004

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded                Number


 21:846 Conspiracy to Possess With Intent to           August 15, 2003                  I
 Distribute Methamphetamine

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 Booker/FanFan decisions.

Counts II, III and IV of the Indictment are dismissed on the motion of the United States as to this
defendant only.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                   June 30, 2005


                                                     s/ Joseph F. Bataillon
                                                     United States District Judge

                                                     July 11, 2005
 8:03-cr-00379-JFB-TDT          Doc # 85     Filed: 07/11/05    Page 2 of 6 - Page ID # 231


Defendant: LETA KINDRED                                                                   Page 2 of 6
Case Number: 8:03CR379


                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of forty-eight (48) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.      That the defendant participate in the 500-hour Comprehensive Drug Treatment Program or any
        similar drug treatment program available.
2.      That the defendant be incarcerated at the FPC Bryan, Bryan, Texas because of the programs
        that they offer.
3.      That the defendant be given credit for time served in federal custody.

        (X)      The defendant is remanded to the custody of the United States marshal.

                               ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                               _____________________________
                                                                       Signature of Defendant

                                              RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                      By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                           CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                         __________________________________
                                                                UNITED STATES WARDEN


                                                      By:__________________________________
 8:03-cr-00379-JFB-TDT           Doc # 85      Filed: 07/11/05      Page 3 of 6 - Page ID # 232


Defendant: LETA KINDRED                                                                        Page 3 of 6
Case Number: 8:03CR379


                                       SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5)
years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from
any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant
pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well as
with any additional conditions on the attached page.

                          STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any controlled substance or any paraphernalia related to any controlled
        substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and shall not
        associate with any person convicted of a felony, unless granted permission to do so by the
        probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     The defendant shall notify the probation officer within seventy-two hours of being arrested or
        questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special agent of
        a law enforcement agency without the permission of the court;

13.     As directed by the probation officer, the defendant shall notify third parties of risks that may be
 8:03-cr-00379-JFB-TDT             Doc # 85        Filed: 07/11/05        Page 4 of 6 - Page ID # 233


Defendant: LETA KINDRED                                                                               Page 4 of 6
Case Number: 8:03CR379


        occasioned by the defendant’s criminal record or personal history or characteristics and shall
        permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.


                               SPECIAL CONDITIONS OF SUPERVISION


1.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining from
        excessive use of alcohol, the defendant shall not purchase or possess, use, distribute, or administer any
        alcohol, just the same as any other narcotic or controlled substance.

2.      The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or night,
        with or without a warrant, at the request of the probation officer to determine the presence of alcohol
        and/or controlled substances, firearms or any other contraband. Any such items found may be seized
        by the probation officer. This condition may be invoked with or without the cooperation of law enforcement
        officers.

3.      The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment or
        counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled substance
        abuse, as directed by the probation officer.

4.      The defendant shall participate in a victim awareness program as directed by the probation officer.

5.      The defendant shall attend, successfully complete, and pay for any mental health diagnostic evaluations
        and treatment or counseling programs as directed by the probation officer.

6.      The defendant shall provide the probation officer with access to any requested financial information.

7.      Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days of
        release on supervised release and at least two (2) periodic drug tests thereafter to determine whether the
        defendant is using a controlled substance. Further, the defendant shall submit to such testing as
        requested by any probation officer to detect the presence of alcohol or controlled substances in the
        defendant’s body fluids and to determine whether the defendant has used any of those substances.
        Based on the defendant’s ability to pay, the defendant shall pay for the collection of urine samples to be
        tested for the presence of alcohol and/or controlled substances in an amount to be determined by the
        probation officer.

8.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska
        between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha, Nebraska, (402)
        661-7555, within seventy-two (72) hours of release from confinement, and, thereafter, as directed by the
        probation officer.
 8:03-cr-00379-JFB-TDT         Doc # 85     Filed: 07/11/05     Page 5 of 6 - Page ID # 234


Defendant: LETA KINDRED                                                                 Page 5 of 6
Case Number: 8:03CR379


                             CRIMINAL MONETARY PENALTIES


      The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

        Total Assessment                    Total Fine                    Total Restitution
              $100.00




                                               FINE

        No fine imposed.

                                          RESTITUTION

        No restitution was ordered.
 8:03-cr-00379-JFB-TDT             Doc # 85        Filed: 07/11/05   Page 6 of 6 - Page ID # 235


Defendant: LETA KINDRED                                                                        Page 6 of 6
Case Number: 8:03CR379


                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties shall
be due as follows:

        The special assessment in the amount of $100.00 has been paid in full.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court,
unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as ordered
by the court. In the event a defendant is able to make a full or substantial payment toward the
remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary to
liquidate and apply the proceeds of such property as full or partial payment of the criminal monetary
penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution
interest, (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs,
including cost of prosecution and court costs.



CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
